 

SUBJECT: MotioreeGn bal lene ORO BavtN hod geument 106 Filed 03/06/23 Page 1of1

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Brandon Fellows —_—

Requesting:

1)Production of legal mail logs from Northern Neck Regional Jail and Lewisberg Jail

2)Proof that the mail was indeed sent to the jails by my lawyers

3) Relief (past requests for relief: Laptop with internet, temporary release (not bond), adjourn the trial, possible contempt
charges against whichever party is responsible for not getting me my legal mail).

4) My requested documents

5) An order ordering the responsible party not to inhibit my preperations/ correspondance any more.

Backround/ Arguement:

Since I've motioned to represent myself again in November 2022, I've made a list of things that | wanted my stand-by counsels
to send me in preparation for both an appeal to the appellate court and for use at trial. It's now 2/23/2023 as | type this part of
this motion and | still have nothing.

Almost a quarter of the year later and I've received nothing. This is very problematic because I've already asked for an
extension for my appeal because of these and similar issues. My lawyers have said that they've sent them multiple times. | do
know that in the past jails have not delivered or refused to deliver correspondence from courts. but honestly this jail seerns to be
pretty functional in how it operates. One of the things I've requested were some subpoena templates so | could seek additional
information, however, even if | had them in front of me right now, I've been told that it would take about 30 days for an approved
subpoena to produce the evidence I'm looking for. From there, what am | to expect? Will | have to wait another four to six
months to get the results back and then begin preparing things with what | found?

 

This is the third time I've been unable to file an appeal and is just a continuation of correspondence issues I've been suffering
from without relief since September of 2021. I'm asking the court to order the jails (Northern Neck and Lewisburg) and my
Lawyers (Bill and Ryan) to show proof of mailing with dates and times. | want to get to the bottom of why I've nad to wait over 4
months for simple paperwork.

{ will again point out that | did offer this court alternative forms of relief that would stop such things from occurring as early as
September of 2021, but this court ignored them and denied them time and again.

This is unacceptable and | want answers for who is responsible for this. The jails claim they have received nothing, and my
lawyers continually say "I sent it, | sent it” ever since November...

It's in the interest of justice to pass this motion. The court should be very interested to find out why I've again (and continually)
been inhibited from representing myself or filing an appeal. How am | to represent myself when | can never get anything, when
my preperations are continually taken, when | don't have access to discovery, and when | have continual correspondance
issues? You need to do somthing for once Judge... Stop doing nothing.

Piease pass this motion and order preducticn from both parties. The jail should produce their incoming legal mail log that

they've received from me, and my lawyers should produce receipts and or bills from the post office showing when they sent
these things I've requested.

Thanks... AT
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